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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH DAKOTA
                               WESTERN DIVISION


 UNITED STATES OF AMERICA,                                CR 20-50095

          Plaintiff,
                                                     PRELIMINARY ORDER
 v.                                                    OF FORFEITURE

 CODY WAYNE HOPKINS,

          Defendant.


         Upon motion of the Plaintiff for a preliminary order of forfeiture, the Court

finds:

         1.     As the result of the guilty verdict to the Indictment for which the

United States seeks forfeiture pursuant to 18 U.S.C. § 2428, the Defendant shall

forfeit to the United States: one Google cellular telephone, Verizon SIM and ICCID

89148000004442173723.

         2.     The Court has determined, based on the Defendant’s guilty verdict,

that he has an interest in the above property, that the property is subject to

forfeiture pursuant to 18 U.S.C. § 2428, and that the United States has

established the requisite nexus between such property and such offenses, and

that the above property is property that was used or intended to be used to

commit the offenses described in the Indictment to which the Defendant was

found guilty.
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      NOW THEREFORE, IT IS HEREBY ORDERED

      1.      Upon the entry of this order, the United States is authorized to seize

the above property for forfeiture, whether held by the Defendant or by a third

party, and to conduct any discovery proper in identifying, locating or disposing

of the property subject to forfeiture, in accordance with Fed. R. Crim. P.

32.2(b)(3).

      2.      Upon the entry of this order, and pursuant to Rule 32.2(b)(6) of the

Federal Rules of Criminal Procedure and Rule G(4)(a)(iv)(C) of the Supplemental

Rules for Admiralty and Maritime Cases, the United States shall post to

www.forfeiture.gov, for a period of thirty consecutive days, notice of this order,

notice of the United States= intent to dispose of the property according to law,

and notice that any other person, other than the Defendant, having or claiming

a legal interest in any of the above-listed forfeited property must file a petition

with this court within thirty days of the final publication of notice, or receipt of

actual notice whichever is earlier.

      3.      Further, the notice shall state that the petition shall be for a hearing

to adjudicate the validity of the Petitioner’s alleged interest in the property, shall

be signed by the Petitioner under penalty of perjury, and shall set forth the

nature and extent of the Petitioner’s right, title or interest in the forfeited

property, and any additional facts supporting the Petitioner=s claim, and the

relief sought.

      4.      The United States may also, to the extent practicable, provide direct

written notice to any person known to have alleged an interest in the property



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that is identified, above, as a substitute for published notice as to those persons

so notified.

      5.       Pursuant to Fed. R. Crim. P. 32.2(c)(2), if no third party files a timely

petition, this preliminary order becomes the final order of forfeiture.

      Date:

                                         BY THE COURT:


                                         __________________________________
                                         JEFFREY L. VIKEN
                                         UNITED STATES DISTRICT JUDGE




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